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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 NAUTILUS INSURANCE CORPORATION,

                                Plaintiff,
                                                             Case No. 22-cv-5997
                        v.
                                                             Judge Thomas M. Durkin
 COA, INC. dba COASTER COMPANY OF                            Magistrate Judge Beth W. Jantz
 AMERICA, et al.,

                                Defendants.



  DECLARATION OF ERIC R. LITTLE IN SUPPORT OF DEFENDANT COA, INC. dba
     COASTER COMPANY OF AMERICA’S MOTION TO DISMISS, OR IN THE
 ALTERNATIVE, MOTION TO TRANSFER VENUE TO THE CENTRAL DISTRICT OF
                             CALIFORNIA

        I,      ERIC R. LITTLE, declare:

        1.      I, Eric R. Little, am an attorney at law, duly admitted to the Bar of the State of

California and am admitted to the General Bar of the United States District Court for the Northern

District of Illinois.

        2.      I am the managing partner at the law firm of Little & Tarzi, LLP, and counsel for

Defendant COA, Inc., dba Coaster Company of America (“Coaster”).

        3.      I have personal knowledge of the following facts stated in this declaration, and if

called as a witness I could, and would, competently testify thereto if called upon to do so.

        4.      I submit this declaration in support of Coaster’s Motion to Dismiss, or in the

Alternative, Motion to Transfer this Action to the Central District of California.

        5.      On November 23, 2020, Starr Indemnity & Liability Company (“Starr”), one of

Coaster’s other insurers defending Coaster in the underlying action, filed a Declaratory Relief

Action in the Central District of California styled as: Starr Indemnity & Liability Company v. COA,

Inc. dba Coaster Company of America, U.S.D.C., C.D. Cal., No. 2:20-cv-10689-MCS (MAAx).

        6.      On March 1, 2021, the Court granted the parties stipulation to stay the Starr Action

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